         Case 06-10725-gwz                        Doc 3614         Entered 04/27/07 13:36:08    Page 1 of 26
     LEWIS  AND



     ROCA   LLP

     L A W Y E R S
                                                                                          E-Filed on 4/26/07
1    3993 Howard Hughes Parkway, Suite 600
     Las Vegas, NV 89169-5996
     Facsimile (702) 949-8321
2    Telephone (702) 949-8320

     40 North Central Avenue, Suite 1900
3    Phoenix, Arizona 85004-4429
     Facsimile (602) 734-3824
     Telephone (602) 262-5756
4
     Susan M. Freeman AZ State Bar No. 004199
     Email: sfreeman@lrlaw.com
5    Rob Charles NV State Bar No. 006593
     Email: rcharles@lrlaw.com
6    Attorneys for Official Committee of Unsecured Creditors
     of USA Commercial Mortgage Company
7
8                                          UNITED STATES BANKRUPTCY COURT
9                                                              DISTRICT OF NEVADA
10   In re:                                                                  Jointly Administered
11   USA Commercial Mortgage Company                                         Chapter 11 Cases
          06-10725 – Lead Case
12                                                                           Judge Linda B. Riegle Presiding
     USA Capital Realty Advisors, LLC
13        06-10726                                                           LEWIS AND ROCA LLP’S SECOND
                                                                             AND FINAL APPLICATION FOR
14   USA Capital Diversified Trust Deed Fund,                                ALLOWANCE OF COMPENSATION
     LLC                                                                     AND REIMBURSEMENT OF
15        06-10727                                                           EXPENSES INCURRED AS
                                                                             ATTORNEYS FOR OFFICIAL
16   USA Capital First Trust Deed Fund, LLC                                  COMMITTEE OF UNSECURED
          06-10728                                                           CREDITORS OF USA
17                                                                           COMMERCIAL MORTGAGE
     USA Securities, LLC                                                     COMPANY
18        06-10729
                                                               Debtors.      Date: June 22, 2007
19                                                                           Time: 9:30 a.m.
                                                                             Affecting:
20                                                                           ¨ All Cases
                                                                             or Only:
21                                                                           x USA Commercial Mortgage Company
                                                                             ¨ USA Capital Realty Advisors, LLC
22                                                                           ¨ USA Capital Diversified Trust Deed Fund,
                                                                             LLC
23                                                                           ¨ USA Capital First Trust Deed Fund, LLC
                                                                             ¨ USA Securities, LLC
24
25                Lewis and Roca LLP (“Lewis and Roca”), counsel for the Committee of Unsecured

26   Creditors of USA Commercial Mortgage Company (the “Committee”), respectfully



                                                                                                                   1822744.2
       Case 06-10725-gwz        Doc 3614   Entered 04/27/07 13:36:08     Page 2 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1    requests compensation for services rendered and reimbursement of expenses incurred on
2    behalf of the Committee. Lewis and Roca submits its billing statement, attached as
3    Exhibit 1, for the time period from August 1, 2006 through March 12, 2007, which
4    itemizes the time and expenses incurred on behalf of the Committee, and incorporates by
5    reference the statement attached to its First Interim Application for Allowance of
6    Compensation and Reimbursement of Expenses [DE 1225].
7                A.   INFORMATION ABOUT APPLICANT AND APPLICATION
8                     1.   Relevant Dates and Nature of Application
9                          a.    On April 13, 2006 (the “Petition Date”) voluntary petitions for
10   relief under Chapter 11 of the United States Bankruptcy Code in the United States
11   Bankruptcy Court for the District of Nevada were filed by USA Commercial Mortgage
12   Company (“USACM”), USA Capital Diversified Trust Deed Fund, LLC (“DTDF”); USA
13   Capital Realty Advisors, LLC (“Realty”); USA Capital First Trust Deed Fund, LLC
14   (“FTDF”); and USA Securities, LLC (“Securities”), (collectively “Debtors”).
15                         b.    An order for Joint Administration of the cases was signed on
16   May 9, 2006.
17                         c.    On May 10, 2006 the Office of the U.S. Trustee appointed an
18   Official Committee of Unsecured Creditors for USACM. Also appointed were: Official
19   Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC;
20   Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed
21   Fund, LLC; and Official Committee of Executory Contract Rights of USA Commercial
22   Mortgage Company.
23                         d.    By Order of this Court dated June 19, 2006, Lewis and Roca
24   was appointed as attorneys for the Committee effective as of May 24, 2006.
25                         e.    On May 24, 2006, Lewis and Roca completed its conflicts
26   clearance and began providing services to the Committee with respect to USACM.



                                                 2                                        1822744.2
       Case 06-10725-gwz        Doc 3614     Entered 04/27/07 13:36:08     Page 3 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                          f.     On January 8, 2007, an Order Confirming Debtors’ Third
2    Amended Plan of Reorganization was signed by this Court. On March 12, 2007, the Plan
3    became Effective.
4                          g.     Pursuant to the terms of the Confirmed Plan, Geoffrey L.
5    Berman was appointed as Trustee of the USACM Liquidating Trust.
6                          h.     Compensation is sought under 11 U.S.C. §§ 330(a)(1) and 331.
7                    2.    Terms and Conditions of Employment
8                          a.     Lewis and Roca has no agreement of any kind, express or
9    implied, to divide with any other person or entity any portion of the compensation sought
10   or to be received by it herein except for its partnership agreement. There is on file herein
11   the necessary statements required by Bankruptcy Rules 2014 and 2016 and 11 U.S.C.
12   § 329, which are incorporated herein by reference.
13                         b.     The source of compensation for the fees and expenses
14   presently sought through this application will be estate funds, as an administrative
15   expense.
16                         c.     Pursuant to the Administrative Order re Establishing
17   Procedures for Interim Compensation Payment and Reimbursement of Expenses,
18   [DE 1199], 80% of the fees and 100% of the expenses Lewis and Roca submitted are to be
19   paid on an interim basis, subject to this Court’s review upon interim and final fee
20   applications. The order provides:
21                   On or about the 25th day of each month following the month
                     for which compensation is sought, each Professional may
22                   submit a monthly statement (“Monthly Statement”). (1)
                     designated counsel for Debtors (ii) designated counsel for
23                   each of the four official committees appointed in these cases;
                     and (iii) the Office of the United State Trustee (collectively,
24                   the “Reviewing Parties”). Each of the Reviewing Parties will
                     have until the fifteenth day of the next calendar month to
25                   review the Monthly Statement. If none of the Reviewing
                     Parties objects as provided in paragraph (b) below, the
26                   applicable Debtor shall promptly pay (to the extent funds are



                                                  3                                         1822744.2
       Case 06-10725-gwz            Doc 3614    Entered 04/27/07 13:36:08    Page 4 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                     available in such Debtor’s estate) eighty percent (80%) of the
                      fees requested and one hundred percent (100%) of the
2                     expenses requested in that particular Monthly Statement.
3                     2.      Status of Monthly Statements, Payment and Application

4                              a.    Lewis and Roca submitted monthly invoices and received

5    payments as set forth on Exhibit 2 attached, and the exhibit attached to the First

6    Application.

7                              b.    The Office of the U.S. Trustee filed objections to the monthly

8    statements. Lewis and Roca responded with information and documentation to resolve the

9    objections or wrote off the entry at issue.

10                             c.    On August 31, 2006, Lewis and Roca filed its First Interim

11   Application for Allowance of Compensation and Reimbursement of Expenses [DE 1225].

12   Pursuant to Order [DE 1479] dated October 6, 2006, Lewis and Roca was awarded

13   $227,901.25 fees and $40,900.51 expenses. All fees and costs awarded have been paid,

14   except for $3,661.43 that apparently was inadvertently omitted from payment in February

15   2007 of these previously awarded fees. This is Lewis and Roca’s Second and Final

16   Application.

17                    3.      Names and Hourly Rates of Professionals

18                            a.     The names of the Lewis and Roca professionals and

19   paraprofessionals requesting fees during the period of this application, the hourly rate

20   charged by each, and the fees billed (after deduction of fees of which no payment is

21   requested) are as follows:

22                                          Billed          Hours            Amount
                 Attorney                  Per Hour         Billed            Billed
23
                 S. Freeman                     $0            1.0                $0
24
                 S. Freeman                    $510         674.0         $343,740.00
25
                 D. Manch                      $405           1.6             $648.00
26



                                                      4                                      1822744.2
       Case 06-10725-gwz         Doc 3614    Entered 04/27/07 13:36:08    Page 5 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1
                 R. Charles                  $0            2.2                $0
2
                 R. Charles                 $385        977.8        $376,453.00
3
                 R. McKirgan                $425           9.8            $4,165.00
4
                 J. Belanger                $385         10.0             $3,850.00
5
                 B. Griffin                 $340         13.5             $4,590.00
6
                 H. Taylor                  $355         30.4            $10,792.00
7
                 J. Hinderaker              $340         79.7            $27,098.00
8
                 T. Morgan                  $400         18.7             $7,480.00
9
                 L. Kasten                  $390           0.4             $156.00
10
                 S. Brown                   $320        138.0            $44,160.00
11
                 E. Simpson                 $295        140.4            $41,418.00
12
                 A. Vigil                   $260           1.9             $494.00
13
                 P. Mause                   $200         48.1             $9,620.00
14
                 L. Lackland                $305           1.4             $427.00
15
                 D. Brenner                 $255           3.6             $918.00
16
                 R. Blakley                 $230         47.4            $10,902.00
17
                 J. Murphy                  $200           1.6             $320.00
18
                 M. Ruth                    $200        109.2            $21,840.00
19
                 Paralegal
20
                 M. Schoenike                $0          39.4                 $0
21
                 M. Schoenike               $180        320.0            $57,870.00
22
                 N. Tanner                  $160           1.5             $240.00
23
                 S. Meskell                  $0          17.8                 $0
24
                 S. Meskell                 $145         24.3             $3,523.50
25
                 K. Cady                    $140           1.3             $182.00
26



                                                   5                                     1822744.2
       Case 06-10725-gwz           Doc 3614    Entered 04/27/07 13:36:08    Page 6 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1
                 C. Clancy                    $195           0.8              $156.00
2
                 C. Arnold                    $170           0.2               $34.00
3                Library Research
                 Assistant
4
                 S. Bundy                     $110           2.9              $319.00
5
                 Litigation Assistants
6
                 J. Siatta                    $145           1.2              $174.00
7
                 Project Clerks
8
                 C. Jordan                     $0           21.3                 $0
9
                 C. Jordan                    $55          133.6            $7,348.00
10
                 M. Linarez                   $55           14.0              $770.00
11
                 K. Francis                   $55           15.3              $841.50
12
                              b.    Solely for the purpose of the Court’s evaluation of the
13
     reasonableness of those standard hourly rates, a brief summary of the professional
14
     experience of the lawyers who provided the bulk of the services for which compensation is
15
     sought is attached.
16
17                            c.    The compensation sought is based on compensation charged

18   by comparably skilled practitioners in cases other than cases under Title 11.

19                      5.    Review and Approval of Application.

20               Monthly statements have been sent to all Committee Members of USACM, and

21   pursuant to the proposed Administrative Order, to the “Reviewing Parties.” In response to

22   the monthly statements, the U.S. Trustee raised certain issues that have been addressed in

23   a responsive letter and in this Application. The Committee disbanded on the Effective

24   Date of the Plan. Donald Walker, former Chair of the Committee and ongoing member of

25   the USACM Trust Committee, providing oversight assistance to the Trustee of the

26   USACM Trust, has signed his approval of this Application.



                                                     6                                        1822744.2
       Case 06-10725-gwz           Doc 3614    Entered 04/27/07 13:36:08     Page 7 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                      6.     Time Period For Services Covered by This Application.
2                The time period covered by the exhibit to this application is from August 1, 2006
3    through March 12, 2007, and in terms of a final application, the pendency of this case
4    through the Effective Date of the Plan.
5                B.    CASE STATUS
6                      1.     Status of Plans and Disclosure Statements, Quarterly Fees and
                              Monthly Operating Reports
7
                              a.     Quarterly fees have been paid to the United States Trustee to
8
     the best of our knowledge.
9
                              b.     Monthly operating reports have been submitted to the Office of
10
     the U.S. Trustee.
11
                              c.     The Debtors filed and amended their Joint Disclosure
12
     Statement and Plan of Reorganization in coordination with all of the Committees.
13
                              d.     On December 20, 2006, the Court made an oral ruling
14
     confirming the Debtors’ Third Amended Joint Plan of Reorganization [DE 1799] (the
15
     “Plan”), and the Court entered an Order Confirming the Plan on January 8, 2007 [DE
16
     2376], as well as findings of fact and conclusions of law.
17
                              e.     The “Effective Date” of the Debtors’ Plan occurred on March
18
     12, 2007. Although appeals of the Confirmation Order are pending, no stay pending
19
     appeal has been entered.
20
                       2.     Accrued Administrative Expenses/Cash on Hand
21
                 Pursuant to Second Joint Motion for Order Implementation of Confirmed Plan [DE
22
     2869], USACM is holding $13,250,000 as a reserve for all other expenses of
23
     administration, including professional fees, which USACM has represented is an adequate
24
     reserve to pay all expenses of administration, priority and secured claims in full, pursuant
25
     to the terms of the Plan.
26



                                                     7                                        1822744.2
        Case 06-10725-gwz                 Doc 3614     Entered 04/27/07 13:36:08        Page 8 of 26
     LEWIS  AND



     ROCA   LLP

     L A W Y E R S


1                 C.     SUMMARY SHEET/PROJECT CATEGORY SUMMARY
2                 A summary sheet that sets forth the hours billed, hourly rate and total billed for
3    each professional and paraprofessional is attached as Schedule A. An analysis by project
4    category of the first and second applications follows:
5
                                                   PROJECT CATEGORY
6                                                      ANALYSIS
     PROJECT                 FIRST APPLICATION            SECOND APPLICATION                     TOTAL
7
     CATEGORY

8                           Hours           Fees       Hours          Fees           Hours               Fees

     B110 Case                 243.8      $65,735.50       375.3      $120,023.00            619.1        $185,758.50
9    Administration

10   B120 Asset                     3.0     1,255.00       236.3        78,082.00            239.3                79,337
     Analysis/Recovery
11   B130 Asset                     7.8     3,378.00       219.3        88,877.50            227.1              92,255.5
     Disposition
12
     B140 Stay Relief               5.9     2,440.50            8.4      2,831.50             95.3                 5,272

13   B150 Meeting of           145.0       59,342.50       366.7       115,296.50            511.7               174,639
     Creditors
14   B160 Fee                   40.7       10,469.50           94.6     23,401.00            135.3              33,870.5
     /Employment
15   Applications

16   B170                           6.1     2,259.50       108.4        36,645.50            114.5                38,905
     Fee/employment
17   Objections

     B180 Avoidance                  0             0            9.6      4,158.50               9.6              4,158.5
18   Action analysis

     B185 Assumption                 0             0             .3       153.00                 .3                  153
19   Rejection

20   B190 Other                237.0       72,510.00       181.9        73,831.00            418.9               146,341
     contested matters
21   B195 Non-Working           17.4         6742.25           69.9     29,233.00             87.3          35,975.25
     travel
22
     B210 business                   0             0             .2          77.00               .2                   77
     Operations
23
     B220 Employee                   0             0            1.2       574.50                1.2                574.5
24   Benefits/Pension

     B230 Financing                 8.4     3,157.50             .3          54.00            11.4               3,211.5
25
     B310 Claims                    1.8       611.00       585.4       139,497.50            587..2         140,108.5
26   Admin/Objections




                                                                8                                               1822744.2
        Case 06-10725-gwz             Doc 3614      Entered 04/27/07 13:36:08   Page 9 of 26
     LEWIS  AND



     ROCA   LLP

     L A W Y E R S


1    B320                        0             0       648.0    267,523.50        648.0            267,523.5
     Plan/Disclosure
2    Statement

     TOTAL                    716.9   $227,901.25     2905.8   $980,259.00       3622.7        $1,208,160.25
3
4                 D.    OVERVIEW OF APPLICATION
5
                        1.     Summary of Legal Services Performed by Lewis and Roca
6                 The services performed by Lewis and Roca during this application period related to
7    (1) advising the Committee with respect to the powers and duties of the Committee; (2)
8    analyzing the Debtors and their financial information with particular focus on USACM,
9    and advising the Committee about them; (3) consulting with the Debtor and other
10   committees concerning the administration of the case; (4) advising the Committee with
11   respect to the powers and duties of the Debtor in the continued operation of its business
12   and management of its assets in the Chapter 11 cases; (5) preparing for and participating in
13   meetings of the Committee and joint meetings of the Debtor and all committees; (6)
14   evaluating court filings and advising the Committee with respect to them; (7) preparing for
15   and participating in court hearings and addressing issues with respect to court orders; and
16   (8) communicating with Committee Members and other professionals about various estate
17   matters.
18                      B110 Case Administration
19                Lewis and Roca performed tasks of a general nature including: review of court
20   filings, operating reports, cash budgets, other documents and dockets; responding to
21   procedural issues and most motions and orders; preparing for and participating in hearings
22   covering uncontested as well as contested matters; researching issues of general
23   applicability; working with Debtors and the other Committees, review and analyses of
24   financial statements; working on plan implementation and transition issues.
25
26



                                                         9                                         1822744.2
      Case 06-10725-gwz            Doc 3614    Entered 04/27/07 13:36:08      Page 10 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1
                                                Billed              Hours          Amount
2                Attorney                      Per Hour             Billed          Billed
3                S. Freeman                         $510             119.9       $61,149.00
                 D. Manch                            405                0.3         $121.50
4
                 R. Charles                            0                0.6           $0
5                R. Charles                          385              79.6       $30,646.00
6                H. Taylor                           355                2.5         $887.50
                 T. Morgan                           400                1.3         $520.00
7
                 L. Kasten                           390                0.4         $156.00
8                S. Brown                            320              23.3        $7,456.00
9                Paralegal
10               M. Schoenike                           0               5.2           $0
                 M. Schoenike                         180              95.0      $17,100.00
11
                 C. Clancy                            195               0.8         $156.00
12               C. Arnold                            170               0.2          $34.00
13               K. Cady                              140               1.3         $182.00
                 N. Tanner                            160               1.5         $240.00
14
15               Project Clerk
16               C. Jordan                              0              21.3           $0
                 C. Jordan                             55              19.2       $1,056.00
17
18               Library Research
                 Assistant
19               S. Bundy                             110              2.9          $319.00
20               TOTAL                                               375.3      $120,023.00

21
                 B120 Asset Analysis/Recovery
22
                 This time includes analysis of impact of the $9,500,000 allocation issue and First
23
     Trust Deed Fund, Placer Vineyards issues, loan collections, the Royal Hotel transaction
24
     and litigation, USAIP issues, investigation of Tree Moss USA Investors VI, Beadle
25
26



                                                     10                                        1822744.2
      Case 06-10725-gwz            Doc 3614     Entered 04/27/07 13:36:08      Page 11 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1    McBride and HMA Sales, including potential causes of action against the Debtors’
2    insiders., and post-confirmation litigation preparation.
3                                               Billed          Hours             Amount
                 Attorney                      Per Hour         Billed              Billed
4
                 S. Freeman                      $510               11.7         $5,967.00
5                R. Charles                        385            121.3         $46,700.50
6                R. McKirgan                       425               1.7           $722.50
                 B. Griffin                        340               3.3         $1,122.00
7
                 J. Hinderaker                     340              37.9        $12,886.00
8                P. Mause                          200              48.1         $9,620.00
9                M. Ruth                           200               5.1         $1,020.00

10               Paralegal
11               S. Meskell                           0              6.4              $0
12
                 Project Clerk
13
                 C. Jordan                          55               0.8            $44.00
14               TOTAL                                             236.3        $78,082.00
15
                 B130 Asset Disposition
16
                 This time relates to evaluation of offers from potential purchasers of assets, analysis
17
     of the assets, and communication with the Committee, Debtors, bidders and other
18
     professionals about potential sales. Counsel participated in meetings regarding sale issues
19
     and sale negotiations; worked on term sheets; worked on drafts of the asset purchase
20
     agreement; attended hearings on sale issues; and drafted a transition agreement with
21
     Compass, then dealt with claims, escrow agreements and disputed matters.
22
23                                              Billed          Hours             Amount
                 Attorney                      Per Hour         Billed              Billed
24
                 S. Freeman                      $510               50.7        $25,857.00
25               R. Charles                        385            122.0         $46,970.00
26               B. Griffin                        340               9.7         $3,298.00



                                                      11                                         1822744.2
      Case 06-10725-gwz           Doc 3614    Entered 04/27/07 13:36:08       Page 12 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                T. Morgan                       400             17.4           $6,960.00
2                S. Brown                        320             16.2           $5,184.00
                 J. Murphy                       200              1.6             $320.00
3
4                Paralegal
                 M. Schoenike                     180             1.2             $216.00
5
6                Litigation Assistants
7                J. Siatta                        145             0.5              $72.50
                 TOTAL                                          219.3          $88,877.50
8
9
                 B140 Relief From Stay Proceedings
10
                 Counsel worked on stay relief motions filed by Dayco, Standard Property, and
11
     Fertitta. It researched and prepared responses, attended hearing and addressed issues with
12
     respect to forms of order.
13
                                              Billed             Hours             Amount
14               Attorney                    Per Hour            Billed             Billed
15               S. Freeman                      $510                1.7            $867.00
                 R. Charles                        385               3.7          $1,424.50
16
                 Paralegal
17
                 M. Schoenike                      180                  3.0         $540.00
18               TOTAL                                                  8.4       $2,831.50
19
                 B150 Meetings Of Creditors
20
                 Time in this category relates to Committee meetings, including: meeting minutes
21
     and agendas; monitoring of the website for creditor inquiries; responding to inquiries from
22
     Committee members; communicating with Committee members about meetings, Trust
23
     Agreement, and directing discussions. Two Committee members resigned and one new
24
     member was appointed. Counsel prepared memoranda for the Committee about pending
25
26



                                                    12                                        1822744.2
      Case 06-10725-gwz           Doc 3614    Entered 04/27/07 13:36:08     Page 13 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1    motions and new developments. Counsel also participated in meetings with the Debtors
2    and other committees.
3
                                              Billed              Hours          Amount
4                Attorney                    Per Hour             Billed          Billed
5                S. Freeman                         $0                1.0           $0
                 S. Freeman                        510               72.9      $37,179.00
6
                 R. Charles                        385             165.4       $63,679.00
7                H. Taylor                         355                0.2          $71.00
8                S. Brown                          320                0.9         $288.00

9                Paralegal
10               M. Schoenike                        0              31.0            $0
11               M. Schoenike                      180              60.9       $11,232.00
                 S. Meskell                          0              11.4            $0
12
                 S. Meskell                        145              21.5        $3,117.50
13               TOTAL                                             365.2      $115,566.50
14
15               B160 Fee/Employment Applications
16               Counsel prepared Sierra Financial Consulting (“Sierra”) and the firm’s monthly
17   statements, the First Application for Compensation of Sierra and Lewis and Roca LLP,
18   and Orders approving applications. In addition, counsel reviewed monthly statements of
19   professionals. Lewis and Roca prepared applications for limited admissions and
20   designations of local counsel. Counsel reviewed employment applications filed in Tree
21   Moss and USA Investors VI, and worked on an employment applications for special
22   counsel for investigation of post-confirmation litigation.
23                                            Billed              Hours          Amount
                 Attorney                    Per Hour             Billed          Billed
24
                 S. Freeman                      $510                 9.2       $4,692.00
25               R. Charles                          0                0.5           $0
26               R. Charles                        385               17.0       $6,545.00



                                                    13                                      1822744.2
      Case 06-10725-gwz            Doc 3614     Entered 04/27/07 13:36:08      Page 14 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                J. Hinderaker                       340                 0.3          $102.00
2                S. Brown                            320                 0.2           $64.00
3                Paralegal
                 M. Schoenike                          0                0.2               $0
4
                 M. Schoenike                        180               64.4       $11,592.00
5                S. Meskell                          145                2.8          $406.00
6                TOTAL                                                 94.6       $23,401.00
7
8
9                B170 Fee Employment Objections

10               Time in this category relates to the analysis, research, and preparation of

11   oppositions or objections to applications for compensation or employment. In addition,

12   counsel worked on issues regarding Committee fees and allocation of fees by Debtors’

13   professionals..

14
                                                Billed               Hours          Amount
15               Attorney                      Per Hour              Billed          Billed
                 S. Freeman                         $510               22.9        $11,679.00
16
                 R. Charles                            0                 0.1            $0
17               R. Charles                          385               20.6         $7,931.00
18               S. Brown                            320               36.4        $11,648.00
                 M. Ruth                             200               15.0         $3,000.00
19
20               Paralegal
21               M. Schoenike                         180               12.7        $2,286.00
                                                                           0                0
22
                 Litigation Assistants                                     0                0
23               J. Siatta                            145                0.7          $101.50
24               TOTAL                                                 108.4       $36,645.50
25
26



                                                      14                                        1822744.2
      Case 06-10725-gwz            Doc 3614     Entered 04/27/07 13:36:08     Page 15 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                B180 Avoidance Action Analysis
2                Counsel worked on a complaint to avoid fraudulent transfers relative to prepaid
3    interest payments, and on post-confirmation avoidance actions.
4                                              Billed               Hours           Amount
                 Attorney                     Per Hour              Billed           Billed
5
                 S. Freeman                       $510                  3.7        $1,887.00
6                R. Charles                         385                 5.9        $2,271.50
7                TOTAL                                                  9.6        $4,158.50

8
9                B185 Assumption/Rejection Lease
10               Time in this category relates to the review of lease rejection motions and orders.
11
                                               Billed               Hours           Amount
12               Attorney                     Per Hour              Billed           Billed
                 S. Freeman                       $510                  0.3          $153.00
13
                 TOTAL                                                  0.3          $153.00
14
15
                 B190 Other Contested Matters
16
                 Counsel worked on investigation and tracing of $9,500,000 in a prepetition
17
     collection account, and assisted in the interim distribution order and its modifications. It
18
     worked on resolution of objections and unresolved issues on the distribution. Time was
19
     spent on 2004 examinations, review of adversary complaints, the protective order with
20
     USAIP and its affiliates, settlement proposals, and appeals.
21
22                                             Billed               Hours           Amount
                 Attorney                     Per Hour              Billed           Billed
23               S. Freeman                       $510                 95.9       $48,909.00
24               R. Charles                           0                 0.3            $0
                 R. Charles                         385                38.2       $14,707.00
25
                 R. McKirgan                        425                 6.8        $2,890.00
26               B. Griffin                         340                 0.5          $170.00



                                                     15                                         1822744.2
      Case 06-10725-gwz            Doc 3614    Entered 04/27/07 13:36:08     Page 16 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                M. Ruth                            200               14.2        $2,840.00
2                L. Lackland                        305                1.4          $427.00
3                Paralegal
                 M. Schoenike                         0                3.0            $0
4
                 M. Schoenike                       180               21.6        $3,888.00
5                TOTAL                                               181.9       $73,831.00
6                B195 Non-Working Travel.
7                Time in this category relates to counsel’s non-working travel to and from Las
8    Vegas to attend hearings and meetings and is billed at fifty percent.
9
                                               Billed              Hours           Amount
10               Attorney                     Per Hour             Billed           Billed
11               S. Freeman                       $510                21.5       $10,965.00
                 R. Charles                           0                0.7            $0
12
                 R. Charles                         385               43.1       $16,593.50
13               R. McKirgan                        425                1.3          $552.50
14               J. Hinderaker                      340                3.3        $1,122.00
                 TOTAL                                               69.9        $29,233.00
15
16
                 B210 Business Operations
17
                 Counsel reviewed operating reports specifically as to loan collections, accruing
18
     payables, and operating losses.
19
20                                             Billed              Hours           Amount
                 Attorney                     Per Hour             Billed           Billed
21
                 R. Charles                       $385                 0.2           $77.00
22               TOTAL                                                 0.2           $77.00
23
24               B220 Employee Benefits/Pension
25               Counsel reviewed the analyses of the employee retention plan.
26



                                                     16                                          1822744.2
      Case 06-10725-gwz            Doc 3614     Entered 04/27/07 13:36:08      Page 17 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1
                                                Billed              Hours            Amount
2                Attorney                      Per Hour             Billed            Billed
                 S. Freeman                        $510                 0.9           $459.00
3
                 R. Charles                          385                0.3           $115.50
4                TOTAL                                                  1.2           $574.50
5                B230 Financing
6                Time in this category consisted of the review and filing of the stipulated order re
7    continued use of cash.
8
                                                Billed              Hours            Amount
9                Paralegal                     Per Hour             Billed            Billed
10               M. Schoenike                        180                0.3            $54.00
                 TOTAL                                                  0.3            $54.00
11
12
                 B310 Claims Administration and Objections
13
                 Time in this category relates to the preparation of a spreadsheet for the analysis of
14
     proofs of claim. Counsel worked on the claims bar date order and responded to creditor
15
     emails and telephone calls regarding claims. Counsel participated in the Diversified
16
     settlement conference; attended hearing on omnibus objection to claims; reviewed and
17
     prepared analyses of, among other, Binford Developers, Standard Property, Gateway
18
     Stone, PBGC and Del Bunch claims. In addition, counsel drafted a motion to Extend
19
     Deadline to File Objections to Claims Arising from Executory Contracts. It drafted
20
     objections to certain claims and filed motions to reclassify claims.
21
22                                              Billed          Hours             Amount
                 Attorney                      Per Hour         Billed              Billed
23               S. Freeman                      $510               20.2        $10,302.00
24               D. Manch                          405               1.3           $526.50
                 R. Charles                        385              60.9        $23,446.50
25
                 J. Belanger                       385              10.0         $3,850.00
26



                                                      17                                         1822744.2
      Case 06-10725-gwz           Doc 3614    Entered 04/27/07 13:36:08    Page 18 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                J. Hinderaker                   340             38.2        $12,988.00
2                S. Brown                        320             38.1        $12,192.00
                 E. Simpson                      295            140.4        $41,418.00
3
                 A. Vigil                        260              1.9           $494.00
4                M. Ruth                         200             40.3         $8,060.00
5                R. Blakley                      230             38.9         $8,947.00
6                Paralegal
7                M. Schoenike                    180             52.3         $9,414.00
8
                 Project Clerk
9                M. Linarez                       55             14.0          $770.00
10               C. Jordan                        55            113.60       $6,248.00
                 K. Francis                       55             15.3          $841.50
11
                 TOTAL                                          585.4      $139,497.50
12
13               B320 Plan/Disclosure Statement
14               Counsel worked on the plan terms and outline. It analyzed plan issues and
15   communicated with Debtors’ counsel and other professionals on revisions. Lewis and
16   Roca participated in meetings of all committees and Debtors on plan issues, and on
17   settlement negotiations. Lewis and Roca drafted the Liquidating Trust Agreement,
18   communicated and interviewed trustee candidates, and assisted in the selection process.
19   Counsel worked on the ADR agreement with Debtors and the Direct Lenders Committee
20   counsel. A significant amount of time was spent on ballot issues, review and response to
21   objections to confirmation, attending meetings on voting, the confirmation brief and
22   attending the confirmation hearing. The Amended Plan was confirmed by order of this
23   Court.
24
25
26



                                                    18                                       1822744.2
      Case 06-10725-gwz            Doc 3614    Entered 04/27/07 13:36:08      Page 19 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1
                                               Billed          Hours             Amount
2                Attorney                     Per Hour         Billed              Billed
                 S. Freeman                     $510             242.5        $123,675.00
3
                 R. Charles                       385            299.6        $115,346.00
4                H. Taylor                        355              27.7         $9,833.50
5                S. Brown                         320              22.9         $7,328.00
                 M. Ruth                          200              34.6         $6,920.00
6
                 D. Brenner                       255               3.6           $918.00
7                R. Blakley                       230               8.5         $1,955.00
8
                 Paralegal
9                M. Schoenike                      180              8.6         $1,548.00
10               TOTAL                                            648.0       $267,523.50
11
12               The total time for all timekeepers for which fees are requested is 2,905.8 hours,

13   resulting in total fees requested of $980,259.00 along with expense reimbursement of

14   $80,326.22 from August 1, 2006 through March 12, 2007. Lewis and Roca professionals

15   and paraprofessionals spent an additional 61.9 hours representing $11,175.00 of fees, for

16   which no compensation is requested, including checking potential conflicts of interest and

17   services considered potentially duplicative. Project clerks provided services in the nature

18   of locating and printing documents and activities that amounted to 48.5 hours or

19   $2,667.50. Lewis and Roca is reducing its fees by the $2,667.50 as well, as a professional

20   courtesy, although the time entries are shown at their hourly rates in the body and

21   attachments to this application.

22
                        2.     Summary of Costs
23
                 Lewis and Roca seeks reimbursement for costs incurred in the amount of
24
     $80,326.22. All costs are also customarily charged to non-bankruptcy clients of Lewis and
25
     Roca. The amount charged by Lewis and Roca for photocopies in this case is 20¢ per
26



                                                     19                                        1822744.2
      Case 06-10725-gwz            Doc 3614    Entered 04/27/07 13:36:08      Page 20 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1    page. Facsimiles are charged at $1.00 per outgoing facsimile. Deliveries were made when
2    signatures were required, and for documents delivered (principally to the court), and
3    transcript order deliveries.
4                All costs from outside parties, such as Federal Express, mail, delivery charges, long
5    distance telephone charges, travel expenses, Lexis and Westlaw searches and the like, are
6    charged at the unit rate charged by the vendors. Travel expenses are limited to airfare
7    charges, taxi or rental car and parking charges. The expense documentation has been
8    submitted to the Office of the U.S. Trustee and is available upon request. The summary of
9    the requested expenses are:
10
                     Description                                                 Amount
11
                     Delivery - Federal Express                                      76.01
12
                     Travel Expense                                             11,536.08
13                   Federal Express                                               128.57
14                   Service of Process                                            200.00
15                   Witness Fee                                                     40.00
                     Outside Professional Services                               1,635.47
16
                     Court Fees                                                      26.00
17                   Other Disbursements                                         6,479.39
18                   Postage                                                     1,370.01
19                   Westlaw Computer Research                                  46,244.10
                     Filing Fee                                                    175.00
20
                     Meeting Expense                                               338.18
21
                     Reporting Services and Transcript                             493.25
22                   Delivery - UPS                                                464.40
23                   Lexis                                                           88.75
24                   Long Distance Telephone                                     3,511.86
                     Document Preparation                                            24.60
25
                     Facsimile Document                                              71.00
26



                                                     20                                        1822744.2
      Case 06-10725-gwz             Doc 3614   Entered 04/27/07 13:36:08    Page 21 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                     Description                                               Amount
2                     Pickup and Delivery                                        304.00
                      Parking Expense                                               1.50
3
                      Copying Expense (Outside Office)                           223.04
4
                      Meal Expenses                                                17.71
5                     Miscellaneous Expenses                                     481.10
6                     Photocopying                                              6,396.20
7                     Total Advances                                         $80,326.22

8                3.     Evaluating Standards
9                In accordance with 11 U.S.C. § 330, this amount was calculated using the hourly
10   rate for the attorneys involved. See also In Re Yermakov, 718 F.2d 1465, 1471 (9th Cir.
11   1983) (“The primary method used to determine a reasonable attorneys’ fee in a bankruptcy
12   case is to multiply the number of hours expended by an hourly rate”). This has also been
13   referred to as the “lodestar” or basic fee which, if warranted, can be adjusted upward or
14   downward. In that regard, the Ninth Circuit in Yermakov made specific references to
15   Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), in
16   which the Fifth Circuit listed twelve factors which should be considered in awarding
17   attorneys’ fees. These “Johnson factors” have been referred to and utilized by
18   many courts in considering and awarding attorneys’ fees in bankruptcy cases. See In Re
19   Nucorp Energy, Inc., 754 F.2d 655 (9th Cir. 1985).
20               The Ninth Circuit Bankruptcy Appellate Panel has held that the “lodestar”
21   approach, coupled with consideration for the “Johnson factors” is the appropriate standard
22   to be applied in awarding fees in a bankruptcy case. See In re Powerine Oil Co., 71
23   Bankr. 767 (Bankr. 9th Cir. 1986).
24               The provisions of § 330(a) place a premium on the timeliness of administration of
25   the case. Compensable services must be “performed within a reasonable amount of time
26   commensurate with the complexity, importance and nature of the problem, issue or task



                                                    21                                       1822744.2
      Case 06-10725-gwz            Doc 3614    Entered 04/27/07 13:36:08      Page 22 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1    addressed.” 11 U.S.C. § 330(a)(3)(A). Lewis and Roca believes all services have been
2    provided in a timely basis.
3                For a more specific description of the various services provided, categorized as a
4    project basis, as well as a general description of what was accomplished with respect to
5    each project, please consult the attached project billing, and the invoice submitted with the
6    First Interim Application.
7                The results obtained by Lewis and Roca within the time frames of this application
8    illustrate that Lewis and Roca:
9                •      Used the skill required to perform the legal services properly;
10               •      Provided services necessary to the administration of the case; and
11               •      Performed the services within a reasonable amount of time commensurate
12                      with the complexity, importance and nature of each task.
13               E.     CONCLUSION
14               Based upon the foregoing, Lewis and Roca respectfully requests the Court to enter
15   an Order approving:
16                      1.     Final compensation for professional services rendered by Lewis and
17   Roca in the amount of $980,259.00, after the pre-invoiced reduction of $11,175.00, less
18   the additional professional reduction of $2,667.50, or $977,591.50;
19                      2.     Reimbursement for actual and necessary expenses incurred in the
20   amount of $80,326.22;
21                      3.     Final approval of the compensation and expenses previously awarded
22   pursuant to the First Application and final approval of fees awarded on the Second and
23   Final Application.
24                      4.     Authorizing the Debtor or Trustee to pay the unpaid balance of
25   $183,928.94 from unencumbered funds of the USACM estate.
26



                                                     22                                         1822744.2
Case 06-10725-gwz   Doc 3614   Entered 04/27/07 13:36:08   Page 23 of 26
      Case 06-10725-gwz       Doc 3614    Entered 04/27/07 13:36:08     Page 24 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1                          Brief biographical information of attorneys
2           Susan M. Freeman: Partner in the law firm of Lewis and Roca LLP in the Business
     Section, certified specialist in bankruptcy law, Arizona Board of Legal Specialization.
3    Education: New York University, J.D., 1975 (Root-Tilden Scholar); Mt. Holyoke
     College, B.A., with distinction 1972. Concentration is in the areas of appeals, bankruptcy.
4    Member of the State Bar Association, and the Bankruptcy Section of the Bar, and of the
     American Bar Association Business Bankruptcy Section. Fellow and Director, American
5    College of Bankruptcy. Chair Chapter 11 Subcommittee of ABA Business Bankruptcy
     Committee. Author of Chapter 27, Ethical Responsibilities, Norton Bankruptcy Law &
6    Practice 2d. Lecturer at various continuing legal education programs on bankruptcy in
     Arizona and nationally.
7
            David E. Manch: Partner in the Phoenix, Arizona law firm of Lewis and Roca
8    LLP. Admitted to Arizona Bar, 1984. Education: Cornell University, B.S. (1965); State
     University of New York at Buffalo (J.D. Cum Laude, 1970). Member of the Maricopa
9    County Bar Association, State Bar of Arizona and the Tax Section of the American Bar
     Association. He has served as an adjunct professor of law at both Nova University Law
10   Center in Ft. Lauderdale and at the State University of New York at Buffalo. Mr. Manch’s
     principal area of practice is in employee benefits, business law and estate planning.
11
             Thomas J. Morgan: Partner in the Phoenix Arizona Office of Lewis and Roca LLP
12   in the firm’s business section. Education: Oklahoma State University, B.S., 1978;
     University of Oklahoma College of Law, J.D., 1981 Order of the Coif; New York
13   University School of Law, LL.M.--Taxation, 1982. Mr. Morgan practices in the area of
     securities, corporate and tax law with emphasis in public and private securities offerings,
14   mergers and acquisitions, securities law, compliance and commercial transactions.
15           Rob Charles: Partner in the Tucson, Arizona office of Lewis and Roca LLP.
     Admitted to Arizona bar, 1982; admitted to Nevada bar. Education: University of Arizona
16   (B.A., 1979); University of Arizona (J.D., 1982 with distinction). Law Clerk to the Hon.
     Earl H. Carroll, District of Arizona (1982-1984). Adjunct faculty, University of Arizona
17   College of Law. Former chair, State Bar of Arizona, Bankruptcy Section; current chair,
     State Bar of Arizona Committee on Rules of Professional Conduct. Member, American
18   Bar Association, Sections of Business Law and Litigation, active in the Bankruptcy
     Committee of the Business Law Section. Recent articles include the Annual Survey of the
19   Automatic Stay, in the Annual Survey of Bankruptcy Law, published by Clark Boardman
     Callaghan. Recent presentations include panel presentations at the Norton Litigation
20   Institute in Las Vegas, Nevada, and to subcommittee meetings of the American Bar
     Association Business Law Section’s Business Bankruptcy Committee and the American
21   Bankruptcy Institute.
22          James J. Belanger: Partner in the Phoenix, Arizona Law of firm of Lewis and Roca
     LLP. Director of the Criminal Defense Practice Group. He originally started with Lewis
23   and Roca in 1987. Education: Arizona State University College of Law, Tempe, Arizona,
     J.D. 1987; Brandeis University, Waltham, Massachusetts, B.A. 1981. Bankruptcy:
24   Mr. Belanger was one of the Lewis and Roca lawyers that represented the Liquidating
     Trustees in the William Herbert and Nelson Bunker Hunt bankruptcy cases in Texas and
25   was on the Lewis and Roca team that successfully unwound the leveraged buyout in In re
     Kaiser Steel. Mr. Belanger is “AV.” rated by Martindale-Hubbell. He is a member of the
26   State Bar of Arizona and the Maricopa County Bar Association and is admitted to practice



                                                24                                        1822744.2
      Case 06-10725-gwz       Doc 3614     Entered 04/27/07 13:36:08      Page 25 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1    in the State of Arizona, the Federal District of Arizona, the Northern District of Texas, the
     Ninth Circuit Court of Appeals, and the United States Supreme Court.
2
            J. Henk Taylor: Partner in the law firm of Lewis and Roca LLP in the Finance
3    Section. Admitted to the Florida bar, 1993, Arizona bar, 1995. Education: Harvard
     University (B.A., magna cum laude, 1990); University of Florida (J.D. with high honors,
4    1993). Senior research editor, Florida Law Review. Law clerk to the Honorable Susan H.
     Black, U.S. Eleventh Circuit Court of Appeals, 1995-1996; Honorable Lacey A. Collier,
5    U.S. District Court, Northern District of Florida, 1993-1995.
6           John C. Hinderaker: Partner in the law firm of Lewis and Roca LLP in the
     Civil/Business Litigation Group, practicing in the Tucson office. Admitted to bar in 1997.
7    Education: University of California, Santa Barbara (B.A. 1991 with Honors) and
     University of Arizona, James E. Rogers College of Law (J.D. 1996 magna cum laude)
8    Order of the Coif, Arizona Law Review. Law Clerk to the Honorable Raymond T.
     Terlizzi, U.S. Magistrate Judge (1996-1997), law clerk to the Honorable John M. Roll,
9    U.S. District Court Judge (1996).
10          Scott K. Brown: Associate in the Phoenix, Arizona law firm of Lewis and Roca
     LLP in the Commercial Litigation group, practicing primarily in the area of bankruptcy
11   law. Admitted to bar in 2002. Education: Brigham Young University (BA 1997) and J.
     Reuben Clark Law School (JD 2000). Author of The Coptic Church in Egypt: A
12   Comment on Protecting Religious Minorities from Non-state Discrimination, Brigham
     Young University Law Review 1049 (2000); Jehovah’s Witnesses v. Land Berlin:
13   Requiring Religious Communities Seeking Public Corporation Status in Germany to
     Satisfy the “Meaning and Purpose of Corporation Status” Test, Brigham Young University
14   Law Review 673 (1999); and Regulating or Reorganizing?: Depriving Federal
     Bankruptcy Courts of Their Statutory Authority and Misapplying Fundamental Tenets of
15   Bankruptcy Law in in re Cajun Electric Power Cooperative, Inc., Brigham Young
     University Journal of Public Law 249 (2000).
16
            Erin O. Simpson: Associate in the Tucson, Arizona law firm of Lewis and Roca
17   LLP in the Business Litigation and Labor and Employment Practice Groups in the
     Creditor’s Rights and Labor and Employment Section. Admitted to bar in 2002.
18   Education: Miami University (B.A. 1983), University of Arizona, James E. Rogers
     College of Law (J.D. 2001 magna cum laude) Order of the Coif, Senior Articles Editor for
19   the Arizona Law Review.
20           Sivan R. Korn: Associate in the Phoenix, Arizona law firm of Lewis and Roca LLP
     in the Commercial Litigation group, practicing primarily in antitrust litigation, antitrust
21   compliance counseling and intellectual property litigation as well as general commercial
     litigation. Admitted to bar in 2002. Education: College of Management School of Law
22   (1999 LL.B) and Fordham University School of Law, LL.M, 2001. While in law school in
     Israel, Ms. Korn was a law clerk for the Hon. Ruth Zochowitzki at the Jerusalem District
23   Court. Following law school she clerked with the Chief Deputy of the Israel Attorney
     General, focusing on Supreme Court appellate work in matter of national security and
24   complex white collar crime cases. Ms. Korn received an L.LM., magna cum laude, from
     Fordham University in New York, in 2001, where she also ranked first in class and was a
25   recipient of the Edward Hawk Award as well as the full tuition merit scholarship.
26



                                                 25                                        1822744.2
      Case 06-10725-gwz     Doc 3614    Entered 04/27/07 13:36:08   Page 26 of 26
     LEWISAND



     ROCA  LLP

     L A W Y E R S


1            Marvin C. Ruth: Associate in the Phoenix, Arizona law firm of Lewis and Roca
     LLP in the Commercial Litigation group. Admitted to bar in 2005. Education: University
2    of Arizona (B.A. 2001) Robert C. Boyd Scholar; James E. Ursano Army Scholar, Arizona
     Regents Scholar and University of Arizona, James E. Rogers College of Law, J.D., 2005
3    magna cum laude, Perry Rogers Scholar. While in law school, Mr. Ruth was the articles
     editor for the Arizona Journal of International and Comparative Law and was also a
4    member of the Black Law Students Association and the Jessup International Law Moot
     Court Team.
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26



                                             26                                     1822744.2
